     Case 1:16-cv-02145-JEJ-MCC Document 137 Filed 04/18/18 Page 1 of 1



                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


JULIE ELLEN WARTLUFT f/k/a                :   CIVIL ACTION NO. 1:16-CV-2145
JULIE ELLEN BARTELS AND                   :
FREDERICK L. BARTELS, JR.,                :   (Chief Judge Conner)
              Plaintiffs                  :
                                          :
             v.                           :
                                          :
THE MILTON HERSHEY SCHOOL                 :
And THE HERSHEY TRUST                     :
COMPANY,                                  :
             Defendants                   :

                                      ORDER

      AND NOW, this 18th day of April, 2018, upon consideration of Defendants’

Motion (Doc. 134) for Leave to File Documents under Seal, it is hereby ORDERED

that said motion is GRANTED. It is FURTHER ORDERED that Defendants’ shall

be permitted to file documents and materials designated as “confidential” under

seal pursuant to the Court’s Protective Order. (Doc. 48).




                                       /S/ CHRISTOPHER C. CONNER
                                       Christopher C. Conner, Chief Judge
                                       United States District Court
                                       Middle District of Pennsylvania
